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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

SARA SAIDMAN and JESSICA
CHEATHAM,
                                                              Case. No. 4:20-cv-02193
        Plaintiffs, on behalf of themselves and
        all others similarly situated,
v.                                                     CLASS ACTION COMPLAINT AND
                                                              JURY DEMAND
SCHLUMBERGER TECHNOLOGY
CORPORATION,

        Defendant.


                        PLAINTIFFS’ FIRST AMENDED COMPLAINT

        Plaintiffs Sara Saidman and Jessica Cheatham (collectively, “Plaintiffs” or “Class

Representatives”), by and through their undersigned attorneys, Sanford Heisler Sharp, LLP and

Shellist Lazarz Slobin LLP, bring this action on behalf of themselves and all similarly situated

women against Defendant Schlumberger Technology Corporation (“Schlumberger” or “the

Company”). Schlumberger is the largest oilfield services company in the world, earning more

than $32 billion in revenue each year and providing services on hundreds of oil rigs in North

America alone.       Men have dominated these field-based positions on oil rigs for decades,

accounting for approximately 95% of the employees staffed on each rig. Plaintiffs, who worked

for Schlumberger on onshore oil rigs across the country, bring this action under Title VII of the

Civil Rights Act of 1964 to remedy the pervasive sexual harassment and gender discrimination to

which they and other similarly situated women working on oil rigs were subjected. Plaintiffs

allege upon knowledge concerning their own acts and upon information and belief as to all other

matters.
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                                    I.     INTRODUCTION

       1.      In Schlumberger’s playbook, oil rigs and women do not mix. Approximately

95% of Schlumberger employees who work on oil rigs are male. The few women who are hired

face a terrorizing environment where men discriminate against their women colleagues with

impunity. Schlumberger has knowingly permitted male workers to treat women who work on oil

rigs as sex objects and second-class citizens, intentionally turning a blind eye to the pattern of

sexual harassment, gender discrimination, and physical danger that women are subjected to

nationwide. Women who work on oil rigs are sexually assaulted, sexually harassed, groped,

leered at, and treated as sexual objects by their male colleagues. They are referred to as “cunts,”

“bitches,” and “sluts” who are undeserving of equal pay. And this animus, harassment, and

discrimination is not isolated: women working on Schlumberger oil rigs nationwide have

reported a hostile work environment in which pervasive sexual harassment and discrimination

are standard operating procedure.

       2.      Schlumberger ensures that women who work on rigs are vulnerable to this

onslaught of sexual harassment and gender discrimination. The Company requires women who

work on rigs to share living quarters (typically a small trailer) and even a bedroom with multiple

men who work on the rig—often the same men who are sexually harassing and discriminating

against them. Sometimes these trailers have no locks, making it impossible for women to find

even a moment’s privacy from the harassers with whom they work. Because these oil rigs are

often in remote locations far from the nearest town, women cannot escape this harassment and

discrimination. They are forced to live with and work among their harassers.

       3.      Plaintiff Sara Saidman is one of these women. Ms. Saidman was just twenty-one

years old when she began working at Schlumberger in May 2016. She worked on numerous rigs




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in numerous locations across the country, but her experiences were the same: She was

objectified, insulted, groped, threatened, retaliated against, and exposed to physical danger by

her colleagues on the oil rigs. As just one example, one of Ms. Saidman’s male colleagues (with

whom she was forced to share living quarters) encouraged the other men working on the rig to

break into her bedroom while she was sleeping and ignore her if she resisted sexual advances.

He assured other male workers that Ms. Saidman “likes it whether or not she wants it” and “the

more she screams, the more she wants it.”

       4.      Similarly, Plaintiff Jessica Cheatham experienced pervasive gender discrimination

throughout her employment with Schlumberger in Texas, New Mexico, and Oklahoma. Among

other things, Ms. Cheatham’s male colleagues made sexually explicit jokes and comments (such

as describing part of a particular tool as “the pussy” located underneath “the skirt” when teaching

her how to use the tool), threatened to “bend [her] over [his] knee and spank” her, accused her of

performing sexual favors in order to receive a promotion, claimed that she was just “one of those

girls working in the oilfield, trying to sleep around with men out here,” told her that she did not

deserve to work on the oil rig, and requested that she be replaced by a man. When Ms.

Cheatham reported discrimination and sexual harassment to Schlumberger, Human Resources

brushed aside her concerns, claiming that “guys just do that. This is a man’s field, so they’re

bound to say stuff.” One Human Resources representative even admitted to Ms. Cheatham that,

because “this is a man’s industry,” Schlumberger knows that sexual harassment on oil rigs “is

likely to happen.”

       5.      Women who have the courage to seek recourse, including Ms. Saidman and Ms.

Cheatham, are promptly blacklisted by Human Resources and management personnel.

Schlumberger makes it nearly impossible for women who have been sexually harassed to find




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recourse.       The Company’s formal policies instruct employees who have been harassed to

“politely” confront the harassers themselves before seeking assistance from management. Not

unsurprisingly, when formal complaints are lodged, Schlumberger’s preferred course of action is

to ignore them entirely.         On the rare occasions when a complaint is deemed worthy of a

response, Schlumberger dismisses it as “just oil field talk” or “a joke.” The women who

complain are then retaliated against as punishment. As one former employee warned, “[Human

Resources] is not your friend at this company, they are your enemy.”

           6.      Schlumberger is widely heralded as the king of the oil and gas industry. The

largest oilfield services company in the world, Schlumberger earns more than $32 billion in

revenue each year and has been recognized as a Fortune 500 Global company for nineteen years.

But when it comes to gender equality, Schlumberger is hardly a leader. The Company goes to

great lengths to shield this simple truth from the public eye, instead celebrating itself as a leader

in gender diversity. As the Company’s website boasts: “Diversity has played a major role in the

development of Schlumberger, and for nearly 25 years gender balance has been a major focus for

us . . . Today, diversity runs through Schlumberger at every job level.” 1 This could not be

further from reality: Women account for barely 16% of Schlumberger’s global workforce, and

women occupy approximately 5% of field-based positions.2 Schlumberger itself acknowledges

that “decades of male dominance” have led to these abysmal gender diversity numbers.


1
    See https://careers.slb.com/newsroom/women-in-tech.
2
   These statistics can be found on Schlumberger’s website (https://www.slb.com/globalstewardship/employment-
human-capital.html), the Company’s annual report on gender diversity, and the gender pay that Schlumberger is
required, by law, to compile and publish annually. According to the 2018 report (https://www.slb.com/-
/media/files/about-us/2018-schlumberger-uk-gender-pay-gap-report.ashx), “[f]ield-based positions continue to be
filled mainly by men. In 2018, 5.4% of the field roles in Schlumberger . . . were held by women.” This is a
systemic issue in the oil industry. A 2018 Gender Diversity Study by the Petroleum Equipment & Services
Association (https://pesa.org/wp-content/uploads/2018/04/PESA-Gender-Diversity-Report-April-2018.pdf) found
that women occupy just 8% of technical operational roles (such as Field Engineers) in the United States. The
staggering gender disparity at Schlumberger reaches the upper echelons of the Company: Prior to the filing of the



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        7.       For the women at Schlumberger who occupy a razor-thin slice of field-based

positions on oil rigs (approximately 5% of available positions), the picture is grim: Women who

work on oil rigs confront not just a glass ceiling, but an impenetrable rock and shale fortress.

                         II.      PARTIES, JURISDICTION, AND VENUE

        8.       PLAINTIFF SARA SAIDMAN is a woman who was an employee of

Schlumberger from on or about May 17, 2016 until May 11, 2017.

        9.       PLAINTIFF JESSICA CHEATHAM is a woman who was an employee of

Schlumberger from on or about September 24, 2017 until January 2, 2020.

        10.      DEFENDANT            SCHLUMBERGER                TECHNOLOGY              CORPORATION

(NYSE: SLB) is an international oilfield services company headquartered in Houston, Texas that

employs more than 100,000 professionals worldwide. At all relevant times, Schlumberger was

Plaintiffs’ employer within the meaning of all applicable federal statutes and regulations.

Defendant has been served through its registered agent for service of process, Capitol Corporate

Services, Inc., 206 E 9th St., Suite 1300, Austin, Texas 78701.

        11.      This Court has subject matter jurisdiction over Plaintiffs’ Title VII claims

pursuant to 28 U.S.C. § 1331.

        12.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) and 42 U.S.C. §

2000e-5(f) because Defendant conducts substantial business in the Southern District of Texas,

and because, upon information and belief, unlawful employment practices originated in this

District.




original complaint, Schlumberger’s website reflected that thirteen out of fourteen Executive Management positions
were held by men; the website now reflects that there are only ten Executive Management positions, nine of whom
are men (https://www.slb.com/who-we-are/executive-management).




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                        III.      COMMON FACTUAL ALLEGATIONS

       13.      Schlumberger rig employees work in desolate and remote areas, with the nearest

town an hour (or more) away by car. An onshore rig site consists only of the oil rig itself and

several trailers that house employees working on the rig.          Employees ordinarily will not

encounter a single person on the site that is not working on the rig.




             Schlumberger True 36 Rig Site (North       Schlumberger Trinidad 100 Rig
             Dakota) with Employee Trailers in the                (Texas)
                         Background

       14.      Schlumberger has long known that women who work on rigs are subjected to

gender-based harassment and discrimination. In 2007, Schlumberger hired an independent third-

party to determine whether field locations “were suitable locations for female employees.” Yet

the discrimination, sexual harassment, and sexual assaults to which women are subjected have

continued unchecked. Upon information and belief, one woman who interviewed for a position

at Schlumberger was even told—during her job interview—that she would need to be on birth

control if she wanted the job.

       15.      This anti-woman animus does not exist in a vacuum. Schlumberger’s male-

dominated culture fosters an environment in which sexual harassment is rampant and openly



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tolerated on oil rigs. Rig employees who have worked for Schlumberger in many different states

across the country have confirmed that the pervasive discrimination, hostile work environment,

and culture of disrespect towards women is consistent across the various parts of the country in

which they worked. Field locations and rigs are predominantly staffed with male employees;

there is often only one or two women working on a rig.

       16.     “Gender equality,” one former employee wrote, “is far from being practiced in

field operations” on rigs. Another employee described a “toxic work environment” and “non-

inclusive culture” that was “a nightmare” for women. One woman claimed that the “blatant boys

club attitude” made Schlumberger “a horrible company to work for as a strong minded woman.”

Yet another employee stated that “harassment, retaliation, [and] discrimination makes

[Schlumberger] a rough place to work,” citing a culture of viciousness, innuendos, rumors,

ostracization, and retaliation. Multiple employees described a “male-dominated” and “good ole

boy culture” that dictated management decisions. Another employee criticized Schlumberger’s

treatment of women and advised management to learn equality and respect.

       17.     According to women who have worked on rigs, instances of sexual assault and

sexual harassment are standard operating procedure. Their own experiences of being groped,

harassed, and discriminated against on a regular basis are consistent with the experiences of

other women at the Company. One woman who worked as a Field Engineer was sexually

assaulted by a male Schlumberger recruiter who then threatened to write a letter to her supervisor

and derail her career if she did not come to his hotel room. Another woman (who was the only

woman on her drill site) was forced to ride in a truck with her supervisor as he was watching

pornographic videos. Yet another woman who worked on an oil rig was groped by her male co-

worker during a lunch break. Another woman complained about a male employee who broke




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into her room, took a shower, and then made sexual advances towards her while wearing only a

towel. One woman even filed a lawsuit against Schlumberger after she learned she had been

secretly filmed by a hidden camera that was placed in her bedroom on a rig. 3

        18.      Men at Schlumberger frequently make inappropriate, demeaning, and gendered

comments to the women with whom they work on rigs. Male employees refer to women as

“cunts” and “bitches” or by demeaning terms such as “sweetie,” “little lady,” “young lady,” and

“darling.” Men subject their women colleagues to crude sexual jokes (such as referring to them

as “prostitutes” and inquiring about their “price”) and other unwanted sexual comments (such as

discussing the sexual acts they would like to perform on their women colleagues and soliciting

them for sex). Men also make inappropriate comments about women’s physical appearance,

such as complimenting them for having “a great ass,” commenting on their breasts, and

critiquing their choice of clothing as being too revealing, too distracting, or not revealing

enough. One woman was subjected to so many inappropriate comments about her clothing in the

cafeteria (in which she was not permitted to wear her coveralls) that she stopped going to the

cafeteria altogether. Men also compare the physical attributes of women who currently or

previously worked on the rig, focusing only on their appearance rather than their professional

capabilities.

        19.      Men also create and spread vicious rumors about the women working on rigs,

such as accusing them of “sleeping around,” which persist long after that woman has moved on



3
  Nick Valencia, Oil rig worker says she was secretly recorded, files $1 million lawsuit, CNN (April 1, 2016),
available at https://www.cnn.com/2016/03/31/us/transocean-spy-camera-lawsuit/index.html (A female employee
working on rig discovered secret recording devices had been installed in her and other female employees’ private
sleeping quarters. When she reported the incident, Schlumberger supervisors were dismissive and failed to
adequately investigate or identify the perpetrator. The plaintiff remarked of her experience, “On the rig, it’s very
hard to gain respect . . . being a woman in a man’s world[.]”).




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from the rig. Male workers refer to women who allegedly had sexual relationships on rigs as

“Schlumberger pass-arounds.”

       20.      Schlumberger knowingly exposes women to unsafe living and working conditions

on oil rigs. Women are often required to live in small shared trailers (often sharing a trailer and

even a bedroom with other men) or “mancamp” facilities offsite.          The shared trailers and

mancamps often do not have locks on the doors or adequate security. As a result, men can and

often do enter women’s rooms without permission. One woman went to sleep with a broken

bottle for protection after a man entered her room at a mancamp multiple times without her

permission. When women ask Schlumberger to provide locks or better security for their living

quarters, they are ignored. Certain work sites do not provide bathroom facilities, requiring

women to either relieve themselves in an open field or drive nearly an hour to reach the nearest

bathroom. As a result, many women limit their intake of water and fluids despite working in

temperatures that frequently exceed 100 degrees.

       21.      The “good ole boys club” mentality promoted by Schlumberger has hindered

women’s opportunities for advancement at the Company. Numerous women have claimed that

they were routinely denied advancement opportunities that were instead awarded to similarly

situated men.    For example, one woman who worked on a rig claimed that she “ran into

increasing discrimination against women” at Schlumberger and, when there were limited

advancement opportunities for women, “it became clear that the company did not take gender

balance seriously.” Another woman who was hired as an engineer was instructed to perform

only administrative and secretarial work (including cleaning homes and warehouses).            Yet

another employee reported that women who work on oil rigs “will deal with a lot of flirting and




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individuals minimizing your abilities[,] but if you lash out you are over emotional,” because “this

is the oil patch.”

        22.     Male employees intentionally conduct themselves in a way that interferes with or

sabotages women’s job performance and ability to complete their work. Men will purposefully

arrive late to work on a regular basis, offering no excuse to the women with whom they work

other than “I know how to do my job better than you.” Men ignore or argue with women who

attempt to give them any direction or suggestion in the workplace. When women try to assert

themselves, male employees claim that they “don’t like a younger woman telling [them] what to

do” and accuse women of “mouthing back.” Male employees take credit for women’s successes

and blame the women for any problems that occur on the rig.

        23.     Schlumberger’s policies, practices, and procedures—including its practice of

minimizing, ignoring, mishandling, or otherwise failing to adequately respond to women’s

complaints—have allowed the gender discrimination and sexual harassment to which women are

subjected to exist on a systemic, Company-wide basis.

        24.     Schlumberger’s Human Resources department offers no recourse for women.

According to one former Schlumberger employee, “Employees that complain to [Human

Resources] about harassment . . . are immediately blacklisted. [Human Resources] is not your

friend at this company, they are your enemy.” Indeed, women at Schlumberger have described a

“long history” of Human Resources actively searching for an excuse to terminate or otherwise

force women out of the Company once they have complained about harassment or

discrimination—even if it means deviating from Schlumberger’s own policies.

        25.     Human Resources routinely ignores complaints of sexual harassment and

discrimination, declines to investigate allegations, and takes little or no action to correct the




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behavior or protect the women who have complained. One woman who reported discrimination

and sexist comments was told by the Head of Human Resources that “everything was in [her]

head.” Another woman stated that she complained to Human Resources after her manager told

her that he did not want to “waste his time” on her “girl problems,” but Human Resources took

no action. Yet another employee complained of sexual harassment and retained a lawyer when

Human Resources took no action. When one woman complained about a customer who “joked”

about raping her, Human Resources implied that she should accept the treatment in order to keep

the customer. Women who report discrimination are frequently demoted, reassigned to a less

desirable position, or terminated.

       26.     Like Human Resources, managers and supervisors at Schlumberger do not take

women’s discrimination and harassment complaints seriously.         For example, one woman’s

complaint of discriminatory conduct on the rig was dismissed by her manager as “oil field talk.”

Yet another woman was accused by her manager of “tearing the group apart” after she

complained to Human Resources about being groped on the rig. Other women are routinely

advised by their managers to “just ignore” inappropriate conduct.

       27.     Schlumberger is well aware that women who work in field positions will

experience discrimination and harassment by their male colleagues. One Human Resources

representative acknowledged that the Company knows that women will be sexually harassed

because “this is a man’s industry.”

       28.     Even Schlumberger’s own written policies promote gender discrimination and

sexual harassment within the Company’s ranks and make it difficult for women to find recourse.

For example, Schlumberger has implemented and maintained a policy for reporting cases of

harassment that has a discriminatory disparate impact on women who seek redress for




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harassment. The Company’s policy instructs employees who have been harassed to, as a first

step, “politely” confront the harasser themselves: “Politely and firmly confront the person doing

the harassing. State how you feel about his / her actions. Politely request that the person stop the

unwanted behavior because you feel offended, uncomfortable, or intimidated.” The policy then

states that, “if the harassment continues,” employees should contact their supervisor. If the

supervisor is unable to solve the problem, the policy directs employees to contact “the next level

of supervision, or another manager.” The policy finally directs employees to contact their

Personnel Manager if, after the three previous levels of reporting—first to the harasser, then to a

supervisor, then to another supervisor—the “problem is still unresolved.” The policy also warns

employees that, “[g]iven the nature of this type of discrimination, Schlumberger also recognizes

that false accusations of harassment can have serious effects on innocent individuals.”

       29.     In addition, Schlumberger maintains a policy governing the recommended

standards for field locations that has a disparate impact on women. For example, the policy

explicitly allows for women to share living quarters (e.g. a trailer) and a bedroom with male

employees. As a result, women (including Ms. Saidman) are often forced to share their living

and sleeping accommodations with men who work on the rig, creating an environment that

invites harassment and discrimination of women. As another example, the policy provides that

only men will be assigned to work at certain worksites, significantly limiting the career

opportunities and work locations available to women.

       30.     Schlumberger’s actions and inactions have allowed a hostile work environment to

greatly interfere with the terms and conditions of women’s employment at the Company. As one

woman who worked on a rig succinctly warned potential employees: “I would definitely not

recommend this company for any female.”




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                       IV.   PLAINTIFFS’ FACTUAL ALLEGATIONS

A.       Plaintiff Sara Saidman

         31.    Plaintiff Sara Saidman graduated summa cum laude from the University of

Pittsburgh in 2016 with a Bachelor of Science degree in Chemical Engineering and minors in

Petroleum Engineering and Chemistry. During college, Ms. Saidman was the co-president of

Omega Chi Epsilon, a Chemical Engineering honor society. In December 2015, Ms. Saidman

accepted an offer to work at Schlumberger as a Measurements While Drilling Field Engineer

(“MWD”). Ms. Saidman began her employment with Schlumberger on May 17, 2016, shortly

after her college graduation. Like many field workers, Ms. Saidman regularly moved from rig to

rig based on staffing needs. While employed by Schlumberger, Ms. Saidman worked at various

rigs located in Texas, New Mexico, North Dakota, and Oklahoma.

         32.    In her capacity as an MWD, Ms. Saidman was responsible for assembling the drill

tool, monitoring it for any malfunctions during drilling, and building, programming, testing, and

preparing tools for downhole drilling services. Ms. Saidman was also responsible for addressing

and reporting changes to pressure, torque, slipstick, drilling angles, depth and direction, and

other drilling data.

         33.    Ms. Saidman excelled at her job. In the summer of 2016, she was part of a team

that broke a Schlumberger record for fastest drilling time using a specific tool. By fixing a depth

tracking issue during the job, Ms. Saidman was instrumental in the achievement of this record.

She received a positive annual performance review for 2016, and was promoted from Grade G98

to Grade G99 in January 2017—just eight months after her employment at the Company began.

         34.    Ms. Saidman was subjected to rampant discrimination and sexual harassment

throughout her employment. Ms. Saidman was forced to share both a trailer and her bedroom

(neither of which had locks on the doors) with three of her male colleagues, several of whom


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encouraged the other men who worked on the rig to break into Ms. Saidman’s room at night and

ignore her if she did not consent to sexual activity (assuring them that “she likes it whether or not

she wants it” and “the more she screams, the more she wants it”). In addition, Ms. Saidman’s

male colleagues referred to her by demeaning and offensive terms (such as “cunt,” “bitch,” and

“slut”), made inappropriate comments about her physical appearance (such as remarking that she

had a “great ass” that was “too distracting” for them in the workplace), and told her that she

“does not deserve equal pay” because she is a woman.

       35.     When Ms. Saidman began working at Schlumberger, she quickly learned that it

was common knowledge that opposing sexual discrimination on rigs would irreparably damage

or end a woman’s career with the Company. Ms. Saidman consistently heard stories of women

being disparaged and terminated for formally reporting—or even discussing with co-workers—

the rampant sexism and poor treatment that they faced on rigs. Multiple employees advised Ms.

Saidman against reporting the discrimination and harassment she was facing. For example, Ms.

Saidman was told to “pick her battles” and “leave it alone,” that reporting her experiences to

Human Resources would “backfire” on her, to “learn to deal with it,” to “get over [herself],” and

to “keep her head down” and “not make a fuss” because making a complaint would “torpedo”

her career as a woman at the Company.

                     i. H&P 636 Rig in New Mexico (June 2016 – August 2016)

       36.     From June 2016 until August 2016, Ms. Saidman worked on the H&P 636 rig in

New Mexico.

       37.     Days into her first rig assignment, Ms. Saidman’s trainer and later supervisor,

MWD Field Specialist Leslie Bullard (“Field Specialist Bullard”), told Ms. Saidman that she

should not wear shorts outside because she had “a great ass” and it was “too distracting” for male




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workers. Field Specialist Bullard informed Ms. Saidman that her “butt” had been the topic of

discussion at that morning’s safety meeting. When Ms. Saidman expressed discomfort with this,

Field Specialist Bullard advised Ms. Saidman to “keep her head down” and “not make a fuss.”

When Ms. Saidman later expressed her discomfort with Field Specialist Bullard’s comments to a

male employee who also worked on the rig, he replied that she did “have a great ass, though.”

       38.    Ms. Saidman was groped while working on the H&P 636 rig. A Directional

Driller who witnessed the event advised Ms. Saidman against reporting it, warning her that it

“wouldn’t end well” for her.

       39.    This was not the only instance of sexual harassment on the H&P 636 rig. For

example, a male employee on the H&P 636 rig made unwanted sexual advances toward Ms.

Saidman, which she rejected. The same employee warned Ms. Saidman to be careful around the

rig crew because she was “young and new” and he “didn’t want to see anything happen” to her.

Ms. Saidman was also “cat called” by men on the rig.

                ii. True 36 Rig in North Dakota (August 2016 – September 2016)

       40.    Ms. Saidman next worked on the True 36 rig in North Dakota from August 19,

2016 until September 4, 2016. While working on the True 36 rig, a male employee frequently

boasted to Ms. Saidman that the men on the rig would hire “hookers and strippers.”

             iii. Patterson 290 Rig in Oklahoma (September 2016 – October 2016)

       41.    Ms. Saidman was assigned to the Patterson 290 rig in Oklahoma from September

2016 through October 2016.

       42.    She continued to face discrimination on the Patterson 290 rig.         While Ms.

Saidman was having a conversation with three men who worked on the rig, one man claimed that

he was not voting for Hillary Clinton because “she’s a woman, and you can’t trust women.




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They’re too emotional.” The same man asked Ms. Saidman if she cooked and then said, “you

can’t trust a woman who doesn’t cook.”

       43.     A male Directional Driller working on the rig once invited Ms. Saidman to a

group gathering offsite. When she arrived, however, she learned that it was just the two of them.

The man repeatedly made sexual advances towards Ms. Saidman, ignoring her demands that he

stop because she was uncomfortable. The man then insisted that Ms. Saidman stay at his house

that night. She hid in the bathroom to escape the man before eventually driving back to the rig.

                iv. H&P 617 Rig in New Mexico (October 2016 – January 2017)

       44.     From October 2016 through January 2017, Ms. Saidman worked on the H&P 617

rig in New Mexico.

       45.     Almost immediately upon arriving on the H&P 617 rig, Ms. Saidman was

subjected to a barrage of sexist and offensive comments by her male colleagues.

       46.     Directional Driller Mark Seidenberger, a former field service manager with

almost 30 years of experience with the Company, frequently called women “cunts” and

“bitches.” On one occasion, he told Ms. Saidman that a woman was “a fucking cunt idiot, but

she had the body of a hooker, and a tramp stamp which is really hot.” He told Ms. Saidman that

if women on the rig did not like how they were treated, “they can shut up or get out.” He also

told Ms. Saidman stories about leaving the rig to visit strip clubs with Schlumberger

management. On another occasion, he claimed that he hoped “terrorists bomb the east coast and

wipe out Hillary supporters.”

       47.     Another male employee told Ms. Saidman that she was “attractive, but would be

more attractive as a brunette.” Yet another male worker frequently made offensive comments

about lesbians and women in general.




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       48.     The men on the H&P 617 rig also displayed their blatant disrespect for women by

attempting to undercut Ms. Saidman and minimize her achievements at work.                  When Ms.

Saidman did exceptionally well with her work assignments, male employees would give other

men all of the credit for Ms. Saidman’s work and applaud their performance, despite the fact

they had no hand in the task at issue. On a regular basis, Ms. Saidman was also unfairly blamed

by the men for any difficulties or issues that arose with respect to work-related tasks.

       49.     As a result of the hostile work environment on the H&P 617 rig, Ms. Saidman

began to search for a transfer.

       50.     At the end of Ms. Saidman’s final day working on the H&P 617 rig, she was

directed to visit the nearby Nomac 56 rig first thing in the morning to handle an “incident.”

When Ms. Saidman arrived at the Nomac 56 rig on the morning of January 10, 2017, she learned

that the “incident” she had been tasked with handling was a man who was wielding knives and

threatening the crew.     When Ms. Saidman reported this to Workforce Coordinator Riley

Swanston (“Coordinator Swanston”), he ignored her concerns and instructed her to “babysit” the

man and “clean up his mess.”

       51.     When Ms. Saidman entered the office on the Nomac 56 rig, she was shocked to

find that the office was filled with calendars of nude women, nude magazines, pornographic

photographs, and handwritten comments “ranking” women on their physical appearance.

                v. Independence 211 Rig in Texas (January 2017 – February 2017)

       52.     Ms. Saidman worked on the Independence 211 rig in Texas from January 2017

until February 2017. While on the Independence 211 rig, Ms. Saidman was warned that the rig

crew were “animals” and she should keep a knife on her at all times for protection.

                       vi. Nomac 55 Rig in Texas (March 2017 – April 2017)




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       53.     On March 2, 2017, Ms. Saidman began working on the Nomac 55 rig in Texas.

Out of the 25 workers assigned to Nomac 55, Ms. Saidman was the only woman.

       54.     Schlumberger assigned Ms. Saidman to a two-bedroom trailer that she shared

with three men: Directional Driller Geno Aguilar (“Directional Driller Aguilar”), Directional

Driller Mike Moore (“Directional Driller Moore”), and Directional Driller Jess Sheldon

(“Directional Driller Sheldon”). The bedroom doors did not have locks on them. Ms. Saidman

shared a bedroom with Directional Driller Moore. Although Ms. Saidman and Directional

Driller Moore were on different schedules, he frequently entered the bedroom while Ms.

Saidman was changing or sleeping, offering her no privacy or security.

       55.     Within days of Ms. Saidman’s arrival, male employees on the Nomac 55 rig

began to make inappropriate and gendered comments to Ms. Saidman.               Directional Driller

Aguilar, in particular, targeted Ms. Saidman and began to harass her on a daily basis.

       56.     For example, Directional Driller Aguilar told Ms. Saidman that women did not

deserve equality because they were not equal to men. He informed Ms. Saidman that she “did

not deserve equal pay” because she was a woman and “[did] half the work.” He also demanded

that Ms. Saidman clean the trailer that they lived in, including his own room, asserting that, “as a

woman, [she is] supposed to clean.” When Ms. Saidman was not on the rig, Directional Driller

Aguilar joked that she was “sleeping around town” and accused her of being “a slut.” Ms.

Saidman, like most of the male employees on the rig, wore loose fitting coveralls while she

worked. Directional Driller Aguilar criticized her choice of clothing and encouraged her to

instead wear tight leggings or jeans.

       57.     Directional Driller Aguilar also discriminated and harassed Ms. Saidman because

she was Jewish, telling Ms. Saidman that she was not “God good” and would go to hell.




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         58.      In mid-March 2017, there was a “casing break” 4 on the Nomac 55 rig.

Schlumberger instructed Ms. Saidman to stay at a “mancamp” (an offsite lodging location) in

Midland, Texas. While Ms. Saidman was asleep in her room at the mancamp, a strange man

entered her room uninvited and unannounced at approximately 3:42 a.m. on March 23, 2017.

Startled, Ms. Saidman jumped out of bed and ordered the man to leave her room multiple times.

The man refused to leave at first, but eventually acquiesced.

         59.      Later that day, Ms. Saidman returned to the Nomac 55 rig. On her way back to

the rig, she stopped in Schlumberger’s Midland, Texas office to report the incident to

Administrative Assistant Allison Hensley (“Administrative Assistant Hensley”).                           When Ms.

Saidman arrived back on the Nomac 55 rig, she immediately reported the event to Directional

Driller Aguilar.

         60.      After learning what had happened to her on the mancamp, Directional Driller

Aguilar told Ms. Saidman that she “liked strange men entering her room in the middle of the

night.” He asked her if strange men breaking into her room at night was her “kink” (sexual

preference). Ms. Saidman objected to Directional Driller Aguilar’s response and firmly told him

that his comments were inappropriate and uncalled for. Directional Driller Aguilar responded by

calling Ms. Saidman “a bitch”—his standard response each time she demanded that he stop

harassing her.

         61.      Undeterred, Directional Driller Aguilar continued to falsely and maliciously tell

the other employees on the rig—all of whom were male—that Ms. Saidman “liked it” when




4
 During a “casing break,” the drill would be removed from the hole and cement would be poured into the perimeter
of the freshly drilled segment to provide stability and structure to the well. Casing breaks typically lasted between a
couple days and one week, during which rig employees typically stay at off-site lodging sites called “mancamps.”




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strange men entered her bedroom uninvited (“the more men, the better”) in the middle of the

night.

         62.   Directional Driller Aguilar also told Ms. Saidman’s male colleagues that they

should ignore Ms. Saidman if she resisted or yelled during a sexual encounter. Directional

Driller Aguilar assured the men working on the rig that Ms. Saidman “likes it whether or not

she wants it,” and resisting sexual advances was her “kink,” or just part of a game she liked to

play. On one occasion, Directional Driller Aguilar pointed a truck driver towards Ms. Saidman

and announced, “See her? She likes strange men coming into her room at all hours of the night.

The more she screams, the more she wants it.”

         63.   The other men on the Nomac 55 rig—including Directional Driller Moore, with

whom Ms. Saidman was forced to share a bedroom—began to join in with Directional Driller

Aguilar in harassing Ms. Saidman.

         64.   Because the trailer to which Ms. Saidman was assigned (and shared with three

men) did not have any locks on the doors, Directional Driller Aguilar’s encouragement of men to

“come into her room at all hours of the night” and declaration that “the more she screams, the

more she wants it” caused her extreme emotional distress. Because any man on the rig site could

walk into her room at any time, Ms. Saidman feared for her safety. Indeed, Directional Driller

Moore began to enter their shared bedroom during his shift while Ms. Saidman was sleeping in

violation of Schlumberger policies. Ms. Saidman went nights without sleeping and developed

depression and anxiety.

         65.   A few days later, on March 28, 2017, Ms. Saidman overheard several men on the

rig joking about how she “wanted strange men to come into her room during the night” and she

“preferred them uninvited.”




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       66.     Later that day, Ms. Saidman received the following text message from an

unknown number asking Ms. Saidman to get a hotel room with her because Directional Driller

Aguilar (identified by his first name, “Geno”) said that it was alright:




       67.     On or around March 29, 2017, one of the pins from the pipe screen broke on the

rig. Directional Driller Aguilar attempted to fix the break, but was unable to find the tools he

needed. Ms. Saidman immediately offered to retrieve her toolkit, which did have the proper

tools, and fix the break herself. Directional Driller criticized her for not getting her toolkit fast

enough and threatened to report her to the Company’s corporate office.

       68.     Later that day, Ms. Saidman wrote to Coordinator Swanston, to report Directional

Driller Aguilar’s unfair conduct. Coordinator Swanston said that Directional Driller Aguilar’s

conduct was “ridiculous,” but told Ms. Saidman that he was “all talk” and she should “just

ignore” it, because “some [Directional Drillers] will be like that.” The following day, Ms.

Saidman also reported the incident to the Service Delivery Manager, who assured her, “Just keep

doing what you’re doing. You won’t get any complaints from this side of things.”

       69.     On or around March 29, 2017, Directional Driller Aguilar approached Ms.

Saidman, who was sleeping in their shared trailer, and roughly shoved her awake. Directional

Driller Aguilar yelled that Ms. Saidman was “worthless”, a “lazy ass,” and could not do her job




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because she was a “girl.” He stated that “if [Ms. Saidman] were a guy, we wouldn’t have a

problem,” and told her that he was going to ask Schlumberger’s corporate office to replace her.

       70.     Directional Driller Aguilar and Directional Driller Moore then proceeded to have

a loud conversation near Ms. Saidman, in which they discussed their preference for a male

employee to replace Ms. Saidman.

       71.     Shortly after this encounter, Ms. Saidman again wrote to Coordinator Swanston to

report Directional Driller Aguilar’s behavior and ask that she not be forced to work with him

anymore. Ms. Saidman reported Directional Driller Aguilar’s discriminatory comments, such as

his remarks that she “didn’t deserve equal pay” because she is a “lazy bitch” and his preference

for a man to replace her. She further reported that Directional Driller Aguilar was threatening to

call Schlumberger and have her replaced. Coordinator Swanston acknowledged that Directional

Driller Aguilar’s comments were “not acceptable,” but did not take any action.

       72.     Upon information and belief, Directional Driller Aguilar did call the Midland

office that day and falsely reported that Ms. Saidman had been late to that morning’s safety

meeting.

       73.     On March 30, 2017, Ms. Saidman contacted Coordinator Swanston again to

request an update regarding her request that she be moved so that she would not have to work

with Directional Driller Aguilar. She informed him that Directional Driller Moore, who was also

harassing her, had a lengthy conversation with Directional Driller Aguilar in their shared living

quarters in which they disparaged her because of her gender.          Specifically, Ms. Saidman

informed Coordinator Swanston that the men “stood in the living room [of their shared trailer]

and talked about how I’m a lazy ass because I’m a woman.”




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       74.     The following day, on March 31, 2017, Ms. Saidman overheard Directional

Drillers Aguilar, Moore, and Sheldon (the three men with whom she shared a trailer) having a

conversation in which they claimed she was “incompetent” because she was a “girl.”

       75.     A few hours later, Ms. Saidman learned that Directional Driller Aguilar

intentionally sent District Manager Shadi Mussa (“DM Mussa”) an inaccurate copy of her work

journal, which made it look like she had performed far less work than she actually had, in an

attempt to get her disciplined. However, because Ms. Saidman had already sent Coordinator

Swanston and DM Mussa an accurate version of her work journal, they knew that the version

Directional Driller Aguilar had sent them was fabricated and inaccurate.

       76.     Directional Driller Aguilar told Ms. Saidman that Schlumberger management

contacted him and told him that they would “look out for him” as long as he “covers his ass.”

Upon information and belief, Directional Driller Aguilar admitted to Schlumberger that he

behaved inappropriately but received a mere slap on the wrist for his conduct.

       77.     On April 1, 2017, Ms. Saidman told Sales Support Engineer Lindsay Keith

(“Sales Support Engineer Keith”) that Directional Driller Aguilar had intentionally deleted her

work journal. Sales Support Engineer Keith told Ms. Saidman that Directional Driller Aguilar

was infamous within Schlumberger for his behavior and had a running list of employees who

refused to work with him. She assured Ms. Saidman that she would speak to Directional Driller

Aguilar’s manager, Workforce Coordinator Daniel Beauchamp (“Coordinator Beauchamp”),

about the behavior. Upon information and belief, Sales Support Engineer Keith never spoke with

Coordinator Beauchamp or Directional Driller Aguilar.

                           vii. Trinidad 100 Rig in Texas (April 2017)

       78.     On April 2, 2017, Ms. Saidman began working on the Trinidad 100 rig in Texas.




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       79.     On April 4, 2017, Ms. Saidman wrote to Coordinator Swanston to again report

Directional Driller Aguilar’s ongoing harassment, discrimination, and retaliatory fabrication of

her work journals.

       80.     On April 4, 2017, Ms. Saidman submitted a written complaint to DM Mussa,

Coordinator Beauchamp, and Coordinator Swanston that comprehensively outlined the

harassment, discrimination, and retaliation she faced on the Nomac 55 rig.

       81.     The following day, Human Resources Representative Andres Fernando Hoyos

Zorrilla (“HR Representative Zorrilla”) contacted Ms. Saidman and asked to speak with her.

When Ms. Saidman asked if he was contacting her regarding her complaint, he had no idea what

she was talking about. Ms. Saidman forwarded her complaint to HR Representative Zorrilla.

       82.     When Ms. Saidman did not receive a response, she submitted her complaint to the

Company’s EthicsPoint system around 8:00 a.m. on April 12, 2017 and further complained that

she was facing retaliation from management as a result of her previous complaints.

       83.     Approximately four hours later, at 11:38 a.m. on April 12, 2017, Ms. Saidman

was suddenly informed that she would be required to immediately submit to a drug and alcohol

test. Ms. Saidman easily passed the drug and alcohol test. Later, Administrative Assistant

Hensley informed Ms. Saidman that HSE Process Lead Lori Rose (“Process Lead Rose”) had

tried to convince her to change the reason code on the test form to “random.”

       84.     Although Schlumberger’s policies promise that drug and alcohol tests will remain

confidential, Ms. Saidman’s colleagues immediately informed her that false rumors were

circulating claiming that Ms. Saidman’s alcohol test came back with a BAC of 1.8%. Her

colleagues claimed that they were being told this by multiple sources—including Coordinator

Beauchamp.




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       85.     Later that night, at 8:21 p.m. on April 12, 2017, Ms. Saidman updated her

EthicsPoint complaint to report management’s retaliatory decision to perform a drug and alcohol

test on her mere hours after she complained of discrimination and harassment. Ms. Saidman also

complained about management violating the Company’s confidentiality policies and spreading

false rumors about the results of her breathalyzer test. Finally, Ms. Saidman supplemented her

previous complaints with details of Directional Driller Aguilar’s religious discrimination.

       86.     The following day, on April 13, 2017, Ms. Saidman was called into a meeting

with Coordinator Swanston, HR Representative Zorrilla, HSE Process Lead Lori Rose, and

Coordinator Beauchamp, who now claimed—for the first time—that they suspected Ms.

Saidman of violating the Company’s driving policies.          Yet HSE Process Lead Lori Rose

confirmed that Ms. Saidman’s driving record had “not even been on her radar” before then. The

Company then suspended Ms. Saidman, effective immediately, while it investigated her

“violations” of the driving policy.

       87.     Immediately after Ms. Saidman was suspended, she met with HR Representative

Zorrilla privately to discuss the multiple complaints of discrimination and retaliation that she had

filed. When Ms. Saidman recounted Directional Driller Aguilar’s sexist and hostile comments,

HR Representative Zorrilla replied, “So you don’t know what a joke is?”

       88.     Later in the evening on April 13, 2017, Ms. Saidman submitted an additional

complaint through EthicsPoint reporting the Company’s retaliatory response to her previous

complaints.

       89.     On April 18, 2017, Ms. Saidman again updated her EthicsPoint complaint to

include further retaliation after she was told that Coordinator Beauchamp disclosed confidential




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information regarding her Human Resources investigation and her suspension status to one of

Ms. Saidman’s colleagues.

       90.     On May 11, 2017, Ms. Saidman returned from her suspension. Schlumberger

promptly terminated her employment.

       91.     Schlumberger claimed that it was terminating Ms. Saidman for committing minor

policy infractions. However, this was mere pretext. Other Schlumberger employees—most of

whom are male—regularly committed the same or far worse infractions, often documenting and

flaunting them on public forums.       Yet Schlumberger did not discipline or terminate these

employees for their policy violations. Indeed, one Schlumberger employee told Ms. Saidman

that she was terminated as a result of a “witch hunt” by the Company.

       92.     Schlumberger intentionally and maliciously terminated Ms. Saidman in retaliation

for the many complaints alleging discrimination, sexual harassment, and retaliation. Indeed, this

is consistent with Schlumberger’s well-known history of unlawfully terminating women who

oppose unlawful treatment. Schlumberger’s actions send a clear message to other women at the

Company that opposition to discriminatory treatment will result in swift dismissal.

Schlumberger’s malicious, wanton, and reckless actions have caused Ms. Saidman considerable

emotional distress, reputational harm, and financial loss.

       93.     When Ms. Saidman began working at Schlumberger, she was an enthusiastic,

confident, and outgoing individual who described herself as a “tough girl.” One year later, after

enduring constant sexual harassment, discrimination, and retaliation, Ms. Saidman was

unrecognizable. She described her experiences at Schlumberger as “a living hell” from which

there was no escape. Her mental and physical health deteriorated as the harassment continued

unabated, even after her attempts to have the Company intervene. She experienced depression,




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anxiety, insomnia, nightmares, and periods of extreme stress, which continue to this day. This

emotional distress has manifested itself in physical symptoms such as weight loss and

hives/rashes. Ms. Saidman’s experiences at Schlumberger have impacted her professional career

and her personal life in nearly every possible way.

B.         Plaintiff Jessica Cheatham

           94.     Plaintiff Jessica Cheatham holds a Bachelor of Science in Chemical Engineering

(with a specialization in Petroleum Engineering) and a minor in statistics and a Bachelor of Arts

degree in Chemistry/Biochemistry. Ms. Cheatham began her employment with Schlumberger on

September 24, 2017 as an MWD Trainee (Grade 98). During her employment, Ms. Cheatham

was promoted multiple times and received training and certification as a Directional Driller,

ultimately becoming a DX5 (Grade 09). Like many field workers, Ms. Cheatham regularly

moved from rig to rig based on staffing needs.                  While employed by Schlumberger, Ms.

Cheatham worked in Texas, New Mexico, and Oklahoma.

           95.     Ms. Cheatham was a strong performer at Schlumberger. She received a strong

performance review in 2018 (which praised her, among other things, for her job performance and

her ability to work with others). In recognition of her excellent performance, Ms. Cheatham was

promoted several times. In August 2018, Ms. Cheatham was promoted to MWD (Grade 99), and

in April 2019, Ms. Cheatham was promoted to the position of DX (Grade 09).

           96.     Ms. Cheatham was often required to live in a trailer with several of her male

colleagues. On certain rigs, Ms. Cheatham was even required to share a bedroom with one of her

male colleagues. On one rig, Ms. Cheatham had to share a bedroom with her male supervisor;

despite working on different shifts, there were times when both she and her male supervisor had


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    A “DX” performs the job of both an MWD and Directional Driller.



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to sleep in the bedroom at the same time. These living conditions meant Ms. Cheatham had very

little privacy and was placed in uncomfortable situations with her male roommates and

coworkers.

                  i.   H&P 532 Rig in Texas (December 2017 – January 2018)

       97.     From December 2017 until January 2018, Ms. Cheatham worked on the H&P 532

rig in Texas. She lived in a trailer with three of her male colleagues and was forced to share a

bedroom with her male supervisor.

       98.     On January 8, 2018, one of Ms. Cheatham’s male colleagues, Lead Hand Kenny

Fusilier (“Lead Hand Fusilier”), told Ms. Cheatham: “If you mess up this [work assignment], I

am going to bend you over my knee and spank you, and you will like it.” When Ms. Cheatham

expressed shock, Lead Hand Fusilier laughed and repeatedly claimed, “you’ll like it.” Then, in

front of Ms. Cheatham, Lead Hand Fusilier turned the trailer television on to the Playboy

channel.

       99.     The next day (January 9, 2018), Lead Hand Fusilier used inappropriate and crude

sexual language when teaching Ms. Cheatham how to use a certain tool. When describing the

different parts of the tool, Lead Hand Fusilier told Ms. Cheatham: “There’s a male end with the

pin, and if you lift the skirt up there’s a pussy, do you see the pussy? The pin is for the male, the

box is for the female, and the box wants to be on top.” He instructed Ms. Cheatham to “flip the

skirt up and see the pussy” and repeatedly asked her, “Do you see the pussy?” He repeatedly

told her, “you know all about this.”

       100.    Lead Hand Fusilier continued his lesson in sexual harassment by telling Ms.

Cheatham: “Now to clean the pussy, you need to use this type of brush and cleaner. You then

begin to thrust in and out, repeatedly. You thrust up and down going all the way around, keep




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going deeper while trusting up and down, and as you go deeper and deeper keep thrusting the pin

up and down. When you can’t go any deeper, do a squirrely.” He continued to condescendingly

tell Ms. Cheatham that she “knew all about this.” Ms. Cheatham felt deeply uncomfortable,

embarrassed, and disrespected.

       101.    The next day (on January 10, 2018), Ms. Cheatham reported Lead Hand Fusilier’s

inappropriate comments verbatim to HSE Process Lead Lori Rose (“HSE Process Lead Rose”).

HSE Process Lead Rose acknowledged that Lead Hand Fusilier’s comments were “absolutely

disgusting” and “sick.” She instructed Ms. Cheatham to contact HR Representative Zorrilla with

her concerns. Upon information and belief, HSE Process Lead Rose did not take any action in

response to Ms. Cheatham’s complaint.

       102.    On January 11, 2018, Ms. Cheatham met with HR Representative Zorrilla to

report Lead Hand Fusilier’s comments. HR Representative Zorrilla responded by telling Ms.

Cheatham that “guys just do that. This is a man’s field, so they’re bound to say stuff.” HR

Representative Zorrilla admitted that sexual harassment should not happen to women in the field,

“but this is a man’s industry, so we know it’s likely to happen.”

       103.    After the meeting, and at HR Representative Zorrilla’s request, Ms. Cheatham

wrote and submitted a detailed statement documenting Lead Hand Fusilier’s inappropriate

comments. Although HR Representative Zorrilla assured Ms. Cheatham that an investigation

would happen and she would be kept informed, she heard nothing further about her complaint.

       104.    A few weeks later, Ms. Cheatham went to Schlumberger’s Midland office to meet

with one of her supervisors, Alessandria Ruy (“Supervisor Ruy”), about a promotion. When Ms.

Cheatham walked into the office, she saw Lead Hand Fusilier sitting in the office and laughing

with office personnel as though nothing had happened. Ms. Cheatham told Supervisor Ruy that




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it was extremely upsetting for her to see Lead Hand Fusilier in the office because she had

recently filed a sexual harassment complaint against him that was mishandled and ignored by

Schlumberger.

       105.     Ms. Cheatham then met with HR Representative Zorrilla again to express her

frustration with the Company’s handling of her complaint. She told HR Representative Zorrilla

that no one from Schlumberger had contacted her about her complaint, and Lead Hand Fusilier

was downstairs joking with the office staff as though nothing had ever happened.

                       ii.   H&P 636 Rig in New Mexico (February 2018)

       106.     In February 2018, Ms. Cheatham worked on the H&P 636 rig in Texas. Ms.

Cheatham had only been working on the rig for about two days when Field Specialist Bullard

reprimanded her for wearing shorts because—according to Field Specialist Bullard—wearing

shorts on the rig meant that Ms. Cheatham was “asking for it.” Field Specialist Bullard said that

she “didn’t want to see the guys get sexual harassment charges” as a result of Ms. Cheatham’s

decision to wear shorts on the rig.      Visibly upset, Ms. Cheatham quickly changed into

sweatpants.

       107.     A few weeks later, Supervisor Ruy told Lead Supervisor Edgar Carballo (Lead

Supervisor Carballo) that he had heard from Field Specialist Bullard, and Robert Hargrave (a DX

who also worked on the rig) that Ms. Cheatham “was difficult to work with,” and “didn’t want to

learn, or help out, like she didn’t want to be out there.” These baseless claims are in direct

conflict with Ms. Cheatham’s 2018 performance review, which praised her ability to work well

with others. Nevertheless, such false accusations put Ms. Cheatham’s future promotions and rig

assignments at risk.

                   iii. Precision 576 Rig in Texas (July 2018 – September 2018)




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       108.   Ms. Cheatham worked on the Precision 576 rig in Texas from July 2018 until

September 2018. She was forced to live in a trailer with three of her male colleagues (one of

whom was her supervisor) and even had to share a bedroom with her male supervisor. Although

Ms. Cheatham and her male supervisor with whom she shared a room worked opposite shifts,

there were times when they both had to sleep in the room at the same time.

       109.   Ms. Cheatham was subjected to derogatory and sexist comments by the male

workers on the Precision 576 rig. For example, the Lead Directional Driller on the Precision 576

rig told Ms. Cheatham that she was “one of those girls working in the oilfield, trying to sleep

around with men out here.”

       110.   Another male worker refused to call Ms. Cheatham by her name (referring to her

only as “MWD Hand”) and, as Ms. Cheatham learned from her other male colleagues, openly

did not want a woman on the rig. The same male worker even called the Schlumberger office to

request that Ms. Cheatham be replaced by a man (specifically requesting that the Company “send

the previous man out here”). Ms. Cheatham learned of the request from Workforce Coordinator

Jermaine Allen (“Coordinator Allen”), who worked in the office.

      iv. Directional Drilling School and Slim Pulse School in Oklahoma (January 2019 –
                                          February 2019)

       111.   Ms. Cheatham attended Directional Drilling School and Slim Pulse School in

Oklahoma from January 2019 to February 2019. Ms. Cheatham was the only woman out of four

trainees at Directional Drilling School and the only woman out of six trainees at Slim Pulse

School.

       112.    When Ms. Cheatham introduced herself to the male trainees on her very first day

of Slim Pulse School, her male colleagues expressed shock and incredulity upon learning that

she was a DX. One of Ms. Cheatham’s male colleagues asked her what “special favors” she had



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to do to become a DX and made suggestive sexual hand gestures (suggesting that Ms. Cheatham

had performed a “handjob” to obtain her DX title). The entire table then started laughing and

whispering to each other about Ms. Cheatham.

       113.    On February 6, 2019, Ms. Cheatham reported the comments made by these men

to Supervisor Ruy. Ms. Cheatham is unaware of any action taken in response to her complaint,

nor is she aware of any discipline the men faced.

                      v. Patterson 260 Rig in Texas (April 2019 – June 2019)

       114.    Ms. Cheatham worked on the Patterson 260 rig from April 2019 to June 2019.

       115.    One of Ms. Cheatham’s male colleagues (another Directional Driller) told her that

the Patterson 260 Driller (who was second in command for Patterson at the rig) would not allow

a woman to be a Directional Driller on the Patterson 260 rig. Later, after she was scheduled to

return from a few days off, Ms. Cheatham was not allowed to return to the rig, resulting in a loss

of compensation. The alleged justification given by Schlumberger for Ms. Cheatham not being

allowed to return was a lack of experience. However, she was qualified for the position and fully

competent for the role; rather, it was clear that the real reason was because of her gender.

                  vi. X-48 (Chevron) Rig in Texas (July 2019 – September 2019)

       116.    Ms. Cheatham worked on the X-48 rig (a Chevron rig) in Texas from July 2019 to

September 2019.

       117.    When Ms. Cheatham first arrived at the rig, she introduced herself to one of the

male Directional Drillers, Steven Laroux (“Directional Driller Laroux”) and told him that she

was excited to learn from him. In response, Directional Driller Laroux told Ms. Cheatham that

she “would not learn anything on this rig.”




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       118.   Ms. Cheatham reported Directional Driller Laroux’s comments to Coordinator

Allen. Upon information and belief, Coordinator Allen did not take any action in response to

Ms. Cheatham’s complaint.

       119.   Other male workers on the X-48 rig also made discriminatory comments to Ms.

Cheatham. In early July 2019, a male Directional Driller named Brian Guilbeau (“Directional

Driller Guilbeau”) called Ms. Cheatham “illiterate” in front of everyone on the rig.       Ms.

Cheatham understood this comment to be solely based on the fact that she was a woman—a

female engineer DX—working on the rig.

       120.   On July 16, 2019, Ms. Cheatham decided to report Directional Driller Guilbeau’s

discriminatory comments.     She was forced to contact three separate people to make her

complaint because each person she contacted directed her to contact a different person. Ms.

Cheatham first complained to Directional Driller Mike Moore (“Directional Driller Moore”),

who told her that she should direct her complaint to Coordinator Allen. When Ms. Cheatham

contacted Coordinator Allen that same day, she was told to direct her complaint to Products

Service Delivery Manager Dana Lasher (“PSDM Lasher”).                Ms. Cheatham then reported

Directional Driller Guilbeau’s comments to PSDM Lasher.

       121.   Upon information and belief, neither PSDM Lasher nor Coordinator Allen nor

Directional Driller Moore took any action in response to Ms. Cheatham’s complaint.

       122.   Ms. Cheatham was forced to continue working with Directional Driller Guilbeau,

who continued to treat her worse than the male workers on the rig.

       123.   In September 2019, Directional Driller Laroux (the same Directional Driller that

Ms. Cheatham had previously complained about) told Ms. Cheatham: “You do not deserve to be




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out here [on the X-48 Chevron rig] and you’re not going to last long,” that she “would never

make it as a DX,” and that she “would not make it out here.”

       124.    Shortly after this interaction (on or around September 7, 2019), Ms. Cheatham

reported Directional Driller Laroux’s comments to PSDM Lasher. Ms. Cheatham soon learned

that PSDM Lasher had informed numerous other male workers on a nearby Chevron rig about

her complaint, spreading it through the workplace like gossip. Ms. Cheatham’s male colleagues

at the nearby Chevron rig warned Ms. Cheatham that she would never work on a Chevron rig

again because she complained about discrimination.

       125.    On or around September 9, 2019, Ms. Cheatham reported Directional Driller

Laroux’s comments by making a formal EthicsPoint report. In Ms. Cheatham’s written

complaint, she explicitly stated that she was being discriminated against because she was a

female engineer and described the retaliation she was facing.

       126.    When Ms. Cheatham’s EthicsPoint complaint was ignored, she contacted North

America Land HR Representative Joya Bradley (“HR Representative Bradley”) to report

Directional Driller Laroux’s discriminatory comments.           Ms. Cheatham also told HR

Representative Bradley about the pervasive sexual harassment and gender discrimination she had

faced throughout her employment. Ms. Cheatham also stated that she was fearful of retaliation,

explaining that she was scheduled to receive a promotion soon and it was well-known that

women who complain about discrimination at Schlumberger are labeled as “whistleblowers.”

              vii. Ms. Cheatham is Blacklisted (September 2019 – January 2020)

       127.    Schlumberger’s retaliatory conduct only escalated after Ms. Cheatham’s

September 2019 discrimination complaints.




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          128.   Schlumberger promptly blacklisted Ms. Cheatham after her September 2019

complaints.      From September 2019 until January 2020, Schlumberger refused to staff Ms.

Cheatham on any rigs and did not offer her any work. As a result, Ms. Cheatham was denied

compensation that she would have earned for actively working on a rig

          129.   Ms. Cheatham had been working towards a DX (Grade 10) promotion and had

completed all of the required certifications and tests. She was only a few steps away from

receiving the DX (Grade 10) promotion, which would have come with a significantly higher

salary.

          130.   However, after Ms. Cheatham complained, Schlumberger made it impossible for

her to get the DX (Grade 10) promotion. Because Schlumberger refused to staff Ms. Cheatham

on a rig, she was unable to complete the final requirements for the promotion.

          131.   Then, in November 2019, Schlumberger offered Ms. Cheatham a significant

demotion to a Trainee (Grade 98) position that required relocation to Alaska. This demotion

would have reverted Ms. Cheatham back to the Trainee (Grade 98) role she was initially hired

for, despite the fact she had already been promoted twice (first to a Grade 99, then to a Grade 09)

and was only a few steps away from her Grade 10 promotion. Several Schlumberger employees

(including Human Resources) strongly advised Ms. Cheatham to accept the demotion that had

been offered to her. Ms. Cheatham’s manager, Colby Broussard, also encouraged her to accept

the demotion, warning her that he did not have another rig available for Ms. Cheatham to work

on.

          132.   Upon information and belief, the Trainee (Grade 98) demotion Ms. Cheatham was

offered would have come with a significant reduction in pay—nearly half of what she was

making in her current Grade 09 role, and far less than she would have made in the Grade 10 role.




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       133.    Ms. Cheatham’s working conditions were rendered completely intolerable by the

consistent sexual harassment and gender discrimination (which continued unchecked, despite

numerous complaints to the Company) she was forced to endure and the Company’s swift

retaliation against her for reporting discrimination. When Schlumberger made it impossible for

Ms. Cheatham to achieve her promotion, refused to staff her on any rigs, and pressured her to

accept a demotion and take a job in Alaska, it became clear that Schlumberger was trying to

force her out of the Company. It was equally clear to Ms. Cheatham that Schlumberger was not

going to allow her to perform her job.

       134.    As a result, Ms. Cheatham was constructively discharged.          Ms. Cheatham

explained to Schlumberger that she felt forced to resign because of the Company’s inadequate

response to her sexual harassment and gender discrimination complaints.         Her last day of

employment was on January 2, 2020.

       135.    When Ms. Cheatham began working at Schlumberger, she was a confident

individual who was enthusiastic about her new job. She believed the position at Schlumberger

was the start of an exciting career in which the sky was the limit. However, after enduring years

of gender discrimination, sexual harassment, and retaliation, Ms. Cheatham realized that she had

no future at Schlumberger because of her gender and the fact that she was outspoken against

illegal discrimination and harassment in the workplace. Due to the discrimination, harassment,

and retaliation, Ms. Cheatham experienced depression, insomnia, stress, and feelings of betrayal,

embarrassment, and failure, and many of these symptoms continue to this day. Ms. Cheatham’s

experiences at Schlumberger have impacted her professional career and personal life in

immeasurable ways.

                    V.     PLAINTIFFS’ ADMINISTRATIVE FILINGS




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        136.     Ms. Saidman filed her initial Charge of Discrimination with the U.S. Equal

Employment Opportunity Commission (“EEOC”) on December 20, 2017. She subsequently

supplemented and amended her Charge, including through a filing on June 27, 2018, which was

served on counsel for Schlumberger.

        137.     Ms. Saidman received her Right to Sue on March 26, 2020.

        138.     Ms. Cheatham is availing herself of “single filing rule,” and “piggybacking” on

Ms. Saidman’s EEOC Charge. In addition, Ms. Cheatham has filed a Charge of Discrimination

which the EEOC received and processed on August 27, 2020.6

                              VI.     CLASS ACTION ALLEGATIONS

        139.     Plaintiffs and Class Representatives re-allege and incorporate by reference each

and every allegation in the Complaint as though fully set forth herein.

        140.     Plaintiffs and Class Representatives sue on behalf of themselves individually and

on behalf of a class of similarly-situated individuals pursuant to Federal Rule of Civil Procedure

23(b)(3). Plaintiffs asserted claims on behalf of themselves and the Class Members in their

charge submissions to the EEOC.

        141.     Schlumberger tolerates and cultivates a discriminatory and hostile working

environment for women who work in field positions.                    Schlumberger has engaged in and

continues to engage in a pattern or practice of discrimination against women employees.

Schlumberger’s employment policies, practices, and procedures have been implemented in an

intentionally discriminatory manner and/or have had an adverse disparate impact on women

employees. The Company has permitted the harassment of women employees to go unchecked,

resulting in a hostile work environment for women employees; has retaliated against women who

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  Ms. Cheatham is currently perfecting her Right to Sue for the August 27, 2020 Charge. Upon receipt of her Right
to Sue, Ms. Cheatham will serve notice on the Court and Defendant.



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have protested the Company’s discriminatory policies, practices, and procedures; and has

unlawfully terminated the employment of women employees.

      A. Rule 23 Class Definition

         142.   The proposed Class consists of all women who are current or former non-

managerial employees of Schlumberger who worked in the field at rigs in the United States,

including without limitation Field Engineers (including MWDs), Directional Drilling Engineers,

Directional Drillers, DXs, Field Specialists, Field Technical Analysts, Maintenance Engineers,

Equipment Operators, and/or Maintenance Technicians, from February 23, 2017 until the date of

judgment. Excluded from the Class are any individuals who at any point acted as a manager,

supervisor, or trainer of the Plaintiffs.

         143.   Plaintiffs reserve the right to modify this Class definition.

B.       Efficiency of Class Prosecution of Class Claims

         144.   Certification of the proposed Class is the most efficient and economical means of

resolving the questions of law and fact that are common to the claims of the Plaintiffs and the

Class.

         145.   Plaintiffs’ individual claims, as Class Representatives, require resolution of the

common questions concerning whether Schlumberger has engaged in a pattern and/or practice of

gender discrimination against its women employees, and whether its policies, practices, and

procedures have an adverse effect on the Class. The Class Representatives seek remedies to

eliminate the adverse effects of such discrimination in their own lives, careers, and working

conditions and in the lives, careers, and working conditions of the class members, and to prevent

Schlumberger’s continued gender discrimination.

         146.   The Class Representatives have standing to seek such relief because of the

adverse effect that such discrimination has had on them individually and on women employees at


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Schlumberger generally. Schlumberger caused Plaintiffs’ injuries through its discriminatory

practices, policies, and procedures and failure to remedy or correct such discrimination and the

discriminatory disparate impact that these practices have had on women employees. These

injuries are redressable through systemic relief, such as the monetary damages sought in this

action.

           147.   To obtain relief for themselves and the class members, the Class Representatives

will first establish the existence of systemic gender discrimination and a hostile work

environment as the premise for the relief they seek. Without class certification, the same

evidence and issues would be subject to re-litigation in a multitude of individual lawsuits with an

attendant risk of inconsistent adjudications and conflicting obligations.

           148.   Certification of the proposed Class is the most reasonable and efficient means of

presenting the evidence and arguments necessary to resolve such questions for the Class

Representatives, the Class Members, and the Company.

C.         Numerosity and Impracticability of Joinder

           149.   The Class that the Class Representatives seek to represent is too numerous to

make joinder practicable. In addition, joinder is impractical as the employees are physically based

in different locations throughout the United States. Fear of retaliation on the part of the

Company’s present and former women employees is also likely to undermine the possibility of

joinder.

           150.   Upon information and belief, the proposed Class consists of more than 40 current

and former women employees during the liability period. The exact size of the Class and the

identities of the individual members are ascertainable through records maintained by

Schlumberger.

D.         Common Questions of Law and Fact


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       151.   Prosecuting the Class Representatives’ claims will require the adjudication of

numerous questions of law and fact common to their claims and those of the Class they seek to

represent.

       152.   The common questions of law include, inter alia: (a) whether Schlumberger has

engaged in unlawful, systemic gender discrimination in its policies, practices, and procedures,

including but not limited to those related to sexual harassment, anti-discrimination, the making

of complaints, investigating and responding to complaints, personnel management, training, and

discipline; (b) whether Schlumberger’s employment policies had a disparate impact on the Class;

(c) whether Schlumberger engaged in a pattern or practice of discrimination under the disparate

treatment theory of liability; and (d) whether the discrimination and harassment complained of

was so severe or pervasive as to alter the conditions of the Class’s employment and create a

hostile or abusive working environment.

       153.   The common questions of fact include, inter alia: (a) whether Schlumberger has

implemented policies and/or practices that lack appropriate standards, implementation metrics,

quality controls, transparency, and opportunities for redress; (b) whether Schlumberger had a

policy and/or practice of minimizing, ignoring, mishandling, or otherwise failing to adequately

respond to complaints and incidents of gender discrimination and a hostile work environment;

(c) whether Schlumberger had a policy and/or practice of minimizing, ignoring, or covering up

evidence of gender discrimination and a hostile work environment in the workplace; (c) whether

Schlumberger discouraged women from reporting gender discrimination, sexual harassment,

and/or a hostile work environment; (e) whether the Class was subjected to offensive or sexual

language and conduct during their employment; (f) whether Schlumberger’s employees with

supervisory authority have been, or reasonably should have been, aware of the sexually hostile




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work environment for class members; (g) whether the instances of sexual harassment were so

severe or pervasive as to alter the conditions of the Class’s employment and create a hostile or

abusive working environment; (h) whether Schlumberger exhibited an unreasonable delay in

discovering and remedying the environment; (i) whether the Class worked in an environment

highly permeated with sexually offensive and degrading behavior, e.g. whether the Class worked

in a highly sexualized atmosphere in which crude and offensive sexual behavior is common and

employees see that it is normative; (j) whether the harassment occurred because of gender; and

(k) whether Schlumberger’s policies and practices exposed the Class to an unreasonable risk of

harm.

         154.   Upon information and belief, the Company’s employment policies, practices, and

procedures are not unique or limited to any office or job site; rather, they apply uniformly and

systematically to employees throughout the Company, occurring as a pattern or practice at

Schlumberger rigs. They thus affect the Class Representatives and Class Members in the same

ways regardless of the location or job site in which they work.

E.       Typicality of Claims and Relief Sought

         155.   The Class Representatives are members of the Class they seek to represent. The

Class Representatives’ claims are typical of the claims of the proposed Class. The Class

Representatives possess and assert each of the claims they assert on behalf of the proposed Class.

They pursue the same factual and legal theories and seek similar relief.

         156.   Like members of the proposed Class, the Class Representatives are women who

were employed by Schlumberger during the liability period.

         157.   The Class Representatives and the Class Members all share the same essential

characteristics. The acts and omissions to which Defendants subjected the Class Representatives




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and the Class applied universally within the Class and were not unique to any Class

Representative or Class Member.

       158.    The Class Representatives and the Class have experienced differential treatment

and conduct that gives rise to a hostile work environment. This differential treatment occurs as a

pattern and practice throughout all locations and work sites of the Company and has affected the

Class Representatives and the Class Members in the same or similar ways.

       159.    Schlumberger’s failures, omissions, and inactions have affected the Class

Representatives and the Class Members in the same or similar ways. Schlumberger has failed to

create adequate policies and procedures to ensure its employees comply with anti-discrimination

laws and has failed to adequately discipline men when they violate anti-discrimination laws.

Schlumberger has failed to create adequate policies and procedures to ensure that women are

protected from discrimination and/or a hostile work environment and have opportunities for

redress.   Schlumberger has failed to respond adequately or appropriately to evidence and

complaints of discrimination. The Class Representatives and Class Members have been affected

in the same or similar ways by the Company’s failure to implement adequate procedures to

detect, monitor, and correct this pattern or practice of discrimination.

       160.    The relief necessary to remedy the claims of the Class Representatives is the same

as that necessary to remedy the claims of the proposed Class Members.

       161.    The Class Representatives seek the following relief for their individual claims and

on behalf of the members of the proposed class: (a) back pay, front pay, and other equitable

remedies necessary to make the employees whole from the Defendant’s discrimination; (b)

punitive and nominal damages to prevent and deter Schlumberger from engaging in similar




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discriminatory practices in the future; (c) compensatory damages; and (d) attorneys’ fees, costs

and expenses.

F.       Adequacy of Representation

         162.    The Class Representatives are adequate representatives of the proposed Class.

         163.    The Class Representatives’ interests are coextensive with those of the members of

the proposed Class that they seek to represent in this case. The Class Representatives seek to

remedy Schlumberger’s discriminatory policies, practices, and procedures so women employees

will not receive differential treatment or suffer a hostile working environment.

         164.    The Class Representatives are willing and able to represent the proposed class

fairly and vigorously as they pursue their similar individual claims in this action.

         165.    The Class Representatives have retained counsel sufficiently qualified,

experienced, and able to conduct this litigation and to meet the time and fiscal demands required

to litigate a class action of this size and complexity. The combined interests, experiences, and

resources of the Class Representatives and their counsel to litigate competently the individual

and class claims at issue in this case clearly satisfy the adequacy of representation requirement of

Rule 23(a)(4).

G.       Requirements of Rule 23(b)(3)

         166.    The common issues of fact and law affecting the claims of the Class

Representatives and proposed Class Members—including, but not limited to, the common issues

identified above—predominate over any issues affecting only individual claims. The common

issues include whether Schlumberger has engaged in gender discrimination and facilitated a

hostile work environment.

         167.    Schlumberger has acted or refused to act on grounds generally applicable to the

Class Representatives and the proposed Class by engaging in gender discrimination and


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facilitating a hostile environment through its failure to adequately prevent, investigate, or

respond with appropriate corrective action to evidence and complaints of a hostile work

environment, sexual harassment, and gender discrimination.               Schlumberger’s systemic

discrimination and refusal to act on nondiscriminatory grounds justify the requested relief for the

Class as a whole.

       168.     A class action is superior to other available means for fairly and efficiently

adjudicating the claims of the Class Representatives and members of the proposed Class. The

cost of proving Schlumberger’s pattern and practice of discrimination makes it impracticable for

the Class Representatives and Class Members to pursue their claims individually.

       169.     By virtue of the pattern and practice of discrimination and a hostile work

environment at Schlumberger, the Class Representatives and Class Members are eligible for

monetary remedies for losses caused by this systemic discrimination, including back pay, front

pay, compensatory damages, and other relief.

       170.     Additionally, or in the alternative, the Court may grant “partial” or “issue”

certification under Rule 23(c)(4). Resolution of the common questions of fact and law would

materially advance the litigation for all Class Members.

                                         VII.   COUNTS

                                    COUNT ONE
           VIOLATION OF TITLE VII OF THE CIVIL RIGHTS ACT OF 1964,
                             42 U.S.C. § 2000(e), et seq.
                       SEX (GENDER) DISCRIMINATION
                  (On Behalf of the Plaintiffs and all Class Members)

       171.     Plaintiffs re-allege and incorporate each and every allegation in this Complaint.

       172.     This Count is brought by the Plaintiffs individually and on behalf of all members

of the Class.



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       173.     Schlumberger was or is an employer of the Plaintiffs and the Class Members

within the meaning of Title VII.

       174.     Plaintiffs are members of a protected class who were qualified for their positions

and strong performers at the Company.

       175.     Plaintiffs and other Class Members suffered adverse employment actions,

including being put on leave, suspended, and/or denied work; denied or delayed advancements;

written reprimands; terminations; and other adverse actions as a result of Schlumberger’s

discriminatory practices and policies. Plaintiff Saidman suffered adverse employment actions

when Schlumberger suspended her employment and then terminated her employment. Plaintiff

Cheatham suffered adverse employment actions when Schlumberger refused to staff her on any

rigs (thereby reducing her compensation and preventing her from performing her job), issued her

a written reprimand, denied her advancement opportunities, and terminated her employment by

constructive discharge.    In addition, in the case of both of Ms. Cheatham’s promotions,

Schlumberger delayed her advancement long after she had received the proper certifications and

promotions. This treatment was in direct contrast to the experiences of similarly situated male

employees. Indeed, Plaintiffs and the other Class Members were treated less well than similarly

situated men.

       176.     Schlumberger has discriminated against the Plaintiffs and all members of the

proposed Class in violation of Title VII by subjecting them to different treatment on the basis of

their gender, including by engaging in intentional disparate treatment, and by maintaining

uniform policies and practices that have an adverse, disparate impact on women.

       177.     Schlumberger has engaged in an intentional, systemic, Company-wide pattern

and/or practice of discrimination by, among other things: (i) subjecting the Plaintiffs and the




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Class to differential treatment and discriminating against them in the terms and conditions of

their employment, including, inter alia, by promoting women more slowly than men, terminating

women due to their gender, putting women on leave and/or denying them work because of their

gender, and denying women advancement due to their gender; (ii) minimizing, ignoring,

mishandling, or otherwise failing to adequately respond to complaints and incidents of gender

discrimination and a hostile work environment; (iii) discouraging women from reporting gender

discrimination, sexual harassment, and/or a hostile work environment; (iv) maintaining and

applying a facially discriminatory policy governing the recommended standards for field

locations for women (which includes, inter alia, the requirement that women share living

quarters with male employees and limitations on the career opportunities available to women by

providing that only men will be assigned to certain worksites); and (v) other forms of

discrimination.    Schlumberger enacted and carried out these practices and policies in an

intentionally discriminatory manner. These policies and practices demonstrate both direct and

indirect evidence of discrimination.

        178.    Further, Schlumberger’s intentional pattern and/or practice of discrimination is

and/or will be demonstrated through direct and indirect evidence, anecdotal evidence, specific

instances of discrimination detailed by members of the Class, and upon information and belief,

statistical evidence.

        179.    Schlumberger’s policies, practices, and procedures have a disparate impact on the

Plaintiffs and the Class, including, inter alia: Schlumberger’s policy for reporting sexual

harassment (which disadvantages and discriminates against women who seek to report instances

of harassment, including but not limited to requiring women to, as a first step, “politely”

confront the harasser themselves); Schlumberger’s policy governing the recommended standards




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for field locations that has a disparate impact on women (which includes, inter alia, the

requirement that women share living quarters with male employees and limitations to the career

opportunities available to women by providing that only men will be assigned to certain

worksites); and Schlumberger’s practice of minimizing, ignoring, mishandling, or otherwise

failing to adequately respond to complaints and incidents of gender discrimination and sexual

harassment (which allows a culture of gender-based harassment and discrimination to continue

unchecked). These foregoing common policies, practices, and/or procedures have produced an

unjustified disparate impact on the Plaintiffs and the Class with respect to the terms and

conditions of their employment.

       180.    The disparate impact of Schlumberger’s policies is and/or will be demonstrated

through direct and indirect evidence, anecdotal evidence, specific instances of discrimination

detailed by members of the Class, and upon information and belief, statistical evidence.

       181.    As a result of this disparate treatment and disparate impact discrimination,

Schlumberger has treated the Plaintiffs and the Class differently from and less favorably than

their male colleagues. This discrimination altered the terms and conditions of the Plaintiffs’ and

the Class’s employment.

       182.    Schlumberger’s conduct has been intentional, deliberate, willful, malicious,

reckless, and conducted in callous disregard of the rights of the Plaintiffs and the Class, entitling

the Plaintiffs and all members of the Class to punitive damages.

       183.    Because of the continuous nature of Schlumberger’s discriminatory conduct,

which persisted throughout the employment of the Plaintiffs and the Class, the Plaintiffs and all

members of the Class are entitled to application of the continuing violations doctrine to all

violations alleged herein.




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        184.    By reason of Schlumberger’s discrimination, the Plaintiffs and the Class are

entitled to all legal and equitable remedies available for violations of Title VII, including

punitive damages.

        185.    As a result of Schlumberger’s conduct alleged in this Complaint, the Plaintiffs

and the Class have suffered and continue to suffer harm, including but not limited to lost

earnings, lost benefits, and other financial loss, including interest.

        186.    As a further result of Schlumberger’s unlawful conduct, the Plaintiffs and the

Class have suffered and continue to suffer, inter alia, impairment to their name and reputation,

humiliation, embarrassment, emotional and physical distress, and mental anguish. The Plaintiffs

and the Class are entitled to recover damages for such injuries from Schlumberger under Title

VII.

        187.    Attorneys’ fees and costs should be awarded under 42 U.S.C. § 2000e-5(k).

                                    COUNT TWO
           VIOLATION OF TITLE VII OF THE CIVIL RIGHTS ACT OF 1964
                              42 U.S.C. § 2000e, et seq.
                       HOSTILE WORK ENVIRONMENT
                  (On Behalf of the Plaintiffs and all Class Members)

        188.    Plaintiffs re-allege and incorporate each and every allegation in this Complaint.

        189.    This Count is brought by the Plaintiffs individually and on behalf of all members

of the Class.

        190.    Schlumberger was or is an employer of the Plaintiffs and the Class Members

within the meaning of Title VII.

        191.    The Plaintiffs and the Class were subjected to unwelcome harassment on the basis

of their gender, including but not limited to inappropriate, offensive, and/or discriminatory




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gendered comments and unwelcome touching.              This unwelcome harassment was both

subjectively and objectively hostile and/or abusive.

       192.    This unwelcome harassment on the basis of gender is and/or will be demonstrated

through direct and indirect evidence, anecdotal evidence, specific instances of discrimination

detailed by members of the Class, Schlumberger’s uniform common practices and policies

(including, inter alia, Schlumberger’s common practice of discouraging, minimizing, ignoring,

mishandling, or otherwise failing to adequately respond to complaints and incidents of

harassment (which allows a culture of gender-based harassment and discrimination to continue

unchecked) and Schlumberger’s policy for reporting harassment, which requires women to, as a

first step, “politely” confront the harasser themselves and warns women that, “[g]iven the nature

of this type of discrimination, Schlumberger also recognizes that false accusations of harassment

can have serious effects on innocent individuals”), and, upon information and belief, statistical

evidence.

       193.    Further, the harassment was common and tolerated by Schlumberger. As one

Schlumberger Human Resources representative admitted, the Company knows that women will

be sexually harassed because “this is a man’s industry.”

       194.    The harassment that the Plaintiffs and the Class were subjected to was so severe

or pervasive as to alter the terms and conditions of their employment and create a hostile and/or

abusive working condition.      The Plaintiffs and the Class were frequently and repeatedly

subjected to harassment and discriminatory conduct on the basis on their gender that was

physically threatening, humiliating, and/or offensive.     This conduct was so extreme that it

unreasonably interfered with the Plaintiffs’ and the Class’s work performance. Further, this




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conduct amounted to a change in the terms and conditions of employment, and resulted in

psychological harm.

       195.    As a result of the harassment, the Plaintiffs and the Class suffered an adverse

employment action, up to and including termination of their employment.

       196.    Schlumberger and its employees with supervisory authority knew or reasonably

should have known of the harassment that permeated the workplace but failed to address it or

take steps to prevent and correct the harassment. Schlumberger failed to exercise reasonable

care to prevent and correct the harassment and hostile work environment, even after the Plaintiffs

and other Class Members complained about harassment on several occasions.

       197.    Schlumberger created and perpetuated a hostile work environment by, among

other things, engaging in a pattern and practice of minimizing, ignoring, mishandling, or

otherwise failing to adequately respond to complaints and incidents of gender discrimination and

sexual harassment; implementing and maintaining a discriminatory policy for reporting sexual

harassment which disadvantages and discriminates against women who seek to report instances

of harassment; and discouraging women from reporting sexual harassment and/or a hostile work

environment.

       198.    Schlumberger’s conduct has been intentional, deliberate, willful, malicious,

reckless, and conducted in callous disregard of the rights of the Plaintiffs and the Class, entitling

the Plaintiffs and all members of the Class to punitive damages.

       199.    Because of the continuous nature of Schlumberger’s discriminatory conduct,

which persisted throughout the employment of the Plaintiffs and the Class, the Plaintiffs and all

members of the Class are entitled to application of the continuing violations doctrine to all

violations alleged herein.




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        200.    By reason of Schlumberger’s discrimination, the Plaintiffs and the Class are

entitled to all legal and equitable remedies available for violations of Title VII, including

punitive damages.

        201.    As a result of Schlumberger’s conduct alleged in this Complaint, the Plaintiffs

and the Class have suffered and continue to suffer harm, including but not limited to lost

earnings, lost benefits, and other financial loss, including interest.

        202.    As a further result of Schlumberger’s unlawful conduct, the Plaintiffs and the

Class have suffered and continue to suffer, inter alia, impairment to their name and reputation,

humiliation, embarrassment, emotional and physical distress, and mental anguish. The Plaintiffs

and the Class are entitled to recover damages for such injuries from Schlumberger under Title

VII.

        203.    Attorneys’ fees and costs should be awarded under 42 U.S.C. § 2000e-5(k).

                                   COUNT THREE
           VIOLATION OF TITLE VII OF THE CIVIL RIGHTS ACT OF 1964
                             42 U.S.C. § 2000e-2(a), et seq.
                                   RETALIATION
                (On Behalf of Plaintiff Saidman and Plaintiff Cheatham)

        204.    Plaintiffs re-allege and incorporate by reference each and every allegation

contained in the previous paragraphs of this Complaint as though fully set forth herein.

        205.    At all relevant times, Schlumberger was an employer of the Plaintiffs within the

meaning of Title VII.

        206.    Plaintiff Saidman engaged in protected activity that included, but is not limited to,

complaining to Schlumberger about sex (gender) discrimination, religious discrimination, a

hostile work environment, and retaliation.




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        207.       Plaintiff Cheatham engaged in protected activity that included, but is not limited

to, complaining to Schlumberger about sex (gender) discrimination, a hostile work environment,

and retaliation.

        208.       Schlumberger retaliated against Plaintiff Saidman by, inter alia, wrongfully

suspending her employment and wrongfully terminating her employment.

        209.       Schlumberger retaliated against Plaintiff Cheatham by, inter alia, depriving her of

adequate work (resulting in a reduction in compensation), issuing her a written reprimand,

interfering in her ability to obtain a promotion, pressuring her to accept a demotion, and

wrongfully terminating her employment by constructive discharge.

        210.       Schlumberger’s retaliatory acts against Plaintiffs were a direct and proximate

result of their protected activities.

        211.       A reasonable person would find Schlumberger’s retaliatory acts materially

adverse and such acts would dissuade a reasonable person from complaining or opposing

discrimination.

        212.       Schlumberger’s conduct has been intentional, deliberate, willful, malicious,

reckless, and conducted in callous disregard to the rights of Plaintiffs, entitling them to punitive

damages.

        213.       Schlumberger’s actions and failures to act have caused Plaintiffs to suffer harm,

including, without limitation, lost earnings, lost benefits, and other severe financial losses, as

well as humiliation, embarrassment, emotional and physical distress, and mental anguish.

        214.       Plaintiffs are therefore entitled to all legal and equitable remedies available for

violations of Title VII, including reinstatement (or front pay) and punitive damages.

        215.       Attorneys’ fees should be awarded under 42 U.S.C. § 2000e-5(k).




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                                    COUNT FOUR
           VIOLATION OF TITLE VII OF THE CIVIL RIGHTS ACT OF 1964
                            42 U.S.C. § 2000e-2(a), et seq.,
                WRONGFUL TERMINATION (DISCRIMINATION)
                (On Behalf of Plaintiff Saidman and Plaintiff Cheatham)

       216.    Plaintiffs re-allege and incorporate by reference each and every allegation

contained in the previous paragraphs of this Complaint as though fully set forth herein.

       217.    At all relevant times, Schlumberger was an employer of the Plaintiffs within the

meaning of Title VII.

       218.    Schlumberger terminated the employment of Plaintiffs due to gender

discrimination. Schlumberger’s discharge of Plaintiffs was an adverse employment action that

materially and adversely changed the overall terms and conditions of their employment in

violation of Title VII.

       219.    Schlumberger terminated Plaintiff Cheatham’s employment by constructive

discharge due to gender discrimination.      Ms. Cheatham, like any reasonable person in her

position, felt compelled to resign as a result of Schlumberger’s actions and inactions, including,

inter alia, (i) reducing and effectively eliminating Ms. Cheatham’s job responsibilities by

refusing to staff her on any oil rigs, thus making it impossible for her to perform her job; (ii)

pressure Ms. Cheatham to accept a significant demotion (which represented several steps

backwards in her career) that came with a significant reduction in salary and would require

relocation to Alaska; (iii) permitting the disclosure of Ms. Cheatham’s discrimination complaint

throughout the workplace, prompting several of her colleagues to comment that she would never

be staffed on a Chevron rig again because of her complaint; (iv) making it impossible for Ms.

Cheatham to obtain her promotion; (v) allowing the consistent sexual harassment and gender

discrimination to which Ms. Cheatham was subjected to continue unchecked, despite her



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numerous complaints; and (vi) swiftly retaliating against Ms. Cheatham for reporting

discrimination and harassment. These conditions rendered Ms. Cheatham’s working conditions

completely intolerable.

          220.    Schlumberger’s conduct has been intentional, deliberate, willful, malicious,

reckless, and conducted in callous disregard to the rights of Plaintiffs, entitling them to punitive

damages.

          221.    Schlumberger’s discharge of Plaintiffs caused them to suffer harm, including,

without limitation, lost earnings, lost benefits, and other severe financial losses, as well as

humiliation, embarrassment, emotional and physical distress, and mental anguish.

          222.    Plaintiffs are therefore entitled to all legal and equitable remedies available for

violations of Title VII, including reinstatement (or front pay) and punitive damages.

          223.    Attorneys’ fees should be awarded under 42 U.S.C. § 2000e-5(k).

                                  VIII. PRAYER FOR RELIEF

Wherefore, Plaintiffs, on their own behalf and on behalf of the Class, request the following

relief:

             a.      Acceptance of jurisdiction of this case;

             b.      Certification of this case as a class action under Federal Rule of Civil

                     Procedure 23, designation of the proposed Class Representatives (Plaintiff

                     Sara Saidman and Plaintiff Jessica Cheatham) as representatives of this Class,

                     and designation of Sanford Heisler Sharp, LLP and Shellist Lazarz Slobin

                     LLP as Class Counsel;




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          c.      A declaratory judgment that the practices complained of herein are unlawful

                  and violate, among other laws, 42 U.S.C. § 2000(e) et seq., as amended; and

                  the applicable state and local laws;

          d.      An award of damages to the Plaintiffs and the Class under Title VII, including

                  back pay, front pay (in lieu of reinstatement), compensatory damages, and

                  punitive damages, in an amount not less than $100,000,000;

          e.      An award of litigation costs and expenses, including reasonable attorneys’

                  fees;

          f.      An award of pre-judgment and post-judgment interest; and

          g.      Such other and further relief as the Court may deem just and proper.

                            IX.      DEMAND FOR JURY TRIAL

      Plaintiffs demand a trial by jury of all issues triable of right to a jury.


Dated: September 1, 2020                      Respectfully submitted,

                                              /s/ Todd Slobin
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                                              -- and –




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                                            Attorneys for Plaintiffs and the Proposed Class




                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing instrument has been served
on all parties of record via electronic case filing on September 1, 2020.


                                            /s/ Todd Slobin
                                            Todd Slobin




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